UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA,

 

 

Plaintiff,
Vv. Case No. /E CL- (Pf
RUSSELL SPALDING,
Defendant.
PLEA AGREEMENT
1. The United States of America, by its attorneys, Matthew D. Krueger,

United States Attorney for the Eastern District of Wisconsin, and Benjamin W.
Proctor, Assistant United States Attorney, and the defendant, Russell Spalding,
individually and by attorney John Campion, pursuant to Rule 11 of the Federal
Rules of Criminal Procedure, enter into the following plea agreement:
CHARGES

2. The defendant has been charged in a three-count indictment, which
alleges violations of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(E),
846, and 856, and Title 18, United States Code, Section 2.

3. The defendant has read and fully understands the charges contained
in the indictment. He fully understands the nature and elements of the crimes with
which he has been charged, and the charges and the terms and conditions of the

plea agreement have been fully explained to him by his attorney.

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4. The defendant voluntarily agrees to plead guilty to the following

counts set forth in full as follows:

COUNT ONE

THE GRAND JURY CHARGES:

From on or about October 1, 2014, and continuing through
October 8, 2015, in the State and Eastern District of Wisconsin,

RUSSELL SPALDING and
KATHRYN SPALDING, a/k/a KATHRYN BUSS,

knowingly and intentionally conspired with each other, and with other
persons known and unknown to the Grand Jury, to distribute a
mixture and substance containing anabolic steroids, a Schedule IIT
controlled substance, in violation of Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(E).

All in violation of Title 21, United States Code, Section 846.

COUNT TWO

THE GRAND JURY FURTHER CHARGES:

On or about October 8, 2015, in the State and Eastern District of
Wisconsin,

RUSSELL SPALDING and
KATHRYN SPALDING, a/k/a KATHRYN BUSS,

knowingly and intentionally possessed with intent to distribute a
mixture and substance containing anabolic steroids, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(E); and Title 18, United States Code, Section 2.

COUNT THREE

THE GRAND JURY FURTHER CHARGES:

From on or about March 5, 2015, and continuing through on or
about October 8, 2015, in the State and Eastern District of Wisconsin,

RUSSELL SPALDING and
KATHRYN SPALDING, a/k/a KATHRYN BUSS,

knowingly and unlawfully used and maintained a place located at 1112
South Wells Street, Apartment #1, Lake Geneva, Wisconsin, for the
purpose of manufacturing and distributing anabolic steroids, a
Schedule III controlled substance.

All in violation of Title 21, United States Code, Section 856(a)(1);
and Title 18, United States Code, Section 2.

5. The defendant acknowledges, understands, and agrees that he is, in
fact, guilty of the offenses described in paragraph 4. The parties acknowledge and

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understand that if this case were to proceed to trial, the government would be able
to prove the following facts beyond a reasonable doubt. The defendant admits that
these facts are true and correct and establish his guilt beyond a reasonable doubt:

Russell Spalding led an anabolic steroid manufacturing and
distribution organization from approximately October 2014 through
October 8, 2015. He called his business “Cerastes Pharmaceuticals.”
He imported raw and processed anabolic steroids from the United
Kingdom and China, and distributed the steroids to others around the
United States using Facebook groups and the U.S. Postal Service. He
had several people help him import, manufacture, sell, and ship the
steroids. This included his wife Kathryn Spalding a/k/a Kathryn Buss,
who helped in all aspects of the operation; E.O. and 8.K. who worked
in Spalding’s laboratory and accepted packages of steroids for
Spalding; L.S., whose Stamps.com account Spalding used to ship
packages of processed steroids to customers; A.L.T., who shipped
steroids from the United Kingdom to Spalding in Wisconsin; J.G.C.,
R.C., and B.B. who distributed Spalding’s steroids to others; and M.S.
and C.T. who accepted packages of steroids for Spalding. The
information herein is based on witness statements, physical and
electronic surveillance by law enforcement agents, information
obtained through search warrants and public records, laboratory
testing, and other reliable means.

In May 2015, DEA agents received information from a
confidential source (CS-1) that Russell Spalding was manufacturing
and distributing anabolic steroids. CS-1 provided details of how
Spalding was importing, manufacturing, selling, and shipping the
steroids. In October 2015, DEA agents spoke to another confidential
source (CS-2) who confirmed that Spalding was operating a steroid
distribution network, and provided details about how Spalding was
making and selling the steroids.

As part of the investigation into Spalding, DEA discovered that
in January 2014, U.S. Customs and Border Patrol (CBP) in Racine
intercepted a package shipped from the United Kingdom to Wisconsin
labeled as “lipstick samples.” It was addressed to E.O. in Elkhorn,
Wisconsin. CPB opened the package and found it contained 100 vials
of a powdery substance listed as HGH. Other packages were also
intercepted by CBP, including one on July 29, 2014, from the United
Kingdom to Kathryn Spalding that CBP discovered contained 13 vials
of “boldenone undecylonate” (anabolic steroids) and 1500 tablets of
astralean clenbuterol (non-steroid prescription substance).

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In July 2015, DEA agents conducted surveillance of Spalding
and they observed Spalding travel several times to and from 111258.
Wells Street, Apartment #1, Lake Geneva, WI, which was not his
residence. Agents suspected (and later confirmed) that this apartment
was being used as Spalding’s steroid-manufacturing laboratory. On
August 11, 2015, DEA received records showing the apartment was
rented to Kathryn Spalding on March 3, 2015.

On August 10, 2015, DEA agents met with the Lake Geneva
Post Master who stated that Russell Spalding and Kathryn Spalding
had been dropping off large numbers of packages on a regular basis.
Agents reviewed several packages that had recently been dropped off
and recognized the names of several individuals as Spalding’s steroid
customers based on conversations from Spalding’s Facebook account,
which they had been monitoring.

To ship the packages, Spalding used the name, return address,
and Stamps.com account of his friend L.S. in Lake Geneva, Wisconsin.
Records show that between February 2015 and October 2015, L.S.’s
Stamps.com account shipped approximately 3,100 packages through
U.S. Postal Service (USPS).

On August 12, 2015, USPS agents in Wisconsin obtained a
search warrant for a package addressed to B.N. in Lincoln, Nebraska,
from L.G. in Lake Geneva, WI. Spalding had previously shipped
several packages to B.M. using the L.S. Stamps.com account. Upon
opening the package, USPS agents found 3 vials of liquid anabolic
steroids, 1 bottle of Cialis capsules, and 1 bottle of Anastrozole
capsules. The bottles were labeled as products of “Cerastes
Pharmaceuticals.” The Wisconsin Crime Lab confirmed that the vials
contained anabolic steroids.

On August 18, 2015, USPS Postal Inspectors interviewed the
Lake Geneva postal employees who were present when Spalding’s
packages were delivered. The employees confirmed that Kathryn
Spalding always dropped off the packages, and had been doing so for
approximately 2 years.

Starting in July 2015, agents served several search warrants on
Facebook for various accounts used by Spalding to distribute steroids.
These included accounts “Russell.Spalding.5,” “Alicia Hunt,” and
“Penelope Hunt” (which Spalding shared with Kathryn Spalding).

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In the “Russell.Spalding.5” account, agents found hundreds of
pages of messages between Spalding and others regarding obtaining
steroids, manufacturing steroids, selling steroids, and related matters.
For instance, there are several hundred messages between Russell
and A.L.T. who was Spalding’s steroid supplier from the United
Kingdom. In these messages, Spalding and A.L.T. discuss orders for
steroid products, prices, and payments, shipping addresses, shipping
confirmation numbers, and manufacturing steroids at home. In one
chat, they discuss the need for A.L.T. to ship the steroids to several
addresses in order to avoid suspicion by law enforcement. In another
chat, Spalding brags about making $15,000 per month selling
steroids. In other chats, A.L.T. and Spalding discuss Spalding setting
up his own laboratory and the importance of hiding the activity from
law enforcement. Spalding talks about being careful, and that the risk
of being discovered by law enforcement is worth it because he was
making so much money. Agents also found several messages between
Spalding and his friends and relatives in which Spalding coordinates
with them about receiving packages (of steroids) for him from
overseas, and that he will pay them for each package they receive.

The “Alicia Hunt” account was used by Spalding to advertise
and sell steroids to his several hundred “friends.” The account
included several postings regarding sales and shipments of steroids.
The account also had several private messages between Spalding and
others regarding steroids. For instance, in a series of messages with
R.C. in November 2014, R.C. and Spalding agree to exchange a
Kimber 1911 firearm and ammunition for $1250 worth of steroids.
R.C. then placed an order with Spalding for $1,248 worth of steroids
(several specific types and amounts), and Spalding directed R.C. to
ship the firearm to “Kathy Buss, XXXX Oak Road, Lake Geneva,
Wisconsin” (which was Spalding and Kathryn Spalding’s home
address). On November 14, 2014, R.C. sent Spalding a photo of the
mailing envelope and a tracking number.

In the “Penelope Hunt” account, which was used by Spalding
and Kathryn Buss, agents found several postings advertising the sale
of steroids, price lists, shipping details, and delays in shipping. There
were also several messages between “Penelope” and others in which
Kathryn Spalding discusses sales and shipments of steroids.

On October 8, 2015, agents executed a search warrant at
Spalding’s residence in Lake Geneva. At the residence, agents found a
firearm, ammunition, drug paraphernalia, steroids, price lists,
steroid-manufacturing recipes, steroid order lists, customer shipment
lists, and other documents relating to the manufacture and sales of

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anabolic steroids. In Spalding’s truck outside the residence, agents
found three rifles. Spalding, who was a felon at the time, was taken
into custody.

Also on October 8, 2015, agents executed a search warrant at
Spalding’s steroid laboratory at 1112 S. Wells St. Apt. #1, Lake
Geneva, Wisconsin. Inside the apartment, agents found thousands of
vials (empty and full), vial caps, labels, beakers, containers of liquids,
capsules (empty and full), graduated cylinders, bags with Chinese
lettering containing powders (some of which were raw steroids from
China), needles, syringes, liquid filling machines, measuring pumps,
paperwork indicating internet orders, gloves, surgical masks, bubble
wrap and bubble envelopes, documents with recipes, and other items
for manufacturing and selling large amounts of anabolic steroids and
other materials. In all, agents recovered more than 12,000 capsules
containing anabolic steroids, approximately 8,000 milliliters of liquid
containing anabolic steroids, and several kilograms of various
powders, including at least 3 kilograms of powder that the DEA crime
laboratory confirmed containing anabolic steroids. Agents also seized
$16,602.31 from Spalding, which Spalding later admitted were
proceeds from distributing steroids.

Following his arrest on October 8, 2015, Spalding agreed to
speak with agents, Spalding admitted that between February 2014
and October 2014, he was obtaining anabolic steroids from the United
Kingdom and then reselling them at double price to between 150 and
200 customers. Spalding stated that between October 2014 and March
2015, he was manufacturing his own steroids in his home, and in
March 2015, he moved his lab to a new apartment at 1112 S. Wells
Street. Spalding stated that he stored kilograms of raw steroid powder
there, as well as finished products. Spalding explained how he made
up batches of steroids and that he paid several people to help him
make and distribute the steroids. Spalding stated that he sold his
steroids through Facebook groups, which had about 400 members.
Spalding stated that on average he was obtaining 6 to 10 kilograms of
raw powder per month from sources in China. Spalding said he had
several people reselling his products at various locations around the
United States. Spalding admitted that for one transaction, R.C., who
lives in California, traded a .45 caliber Kimber handgun to Spalding
for steroids.

Several other individuals connected to Spalding’s steroid
trafficking operation were questioned by law enforcement. These
witnesses stated that Spalding imported large amounts of steroids
from China, and that he, along with others whom he paid,

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manufactured steroids in an apartment in Lake Geneva. They
confirmed that Spalding sold the steroids through Facebook groups.

This information is provided for the purpose of setting forth a factual basis
for the plea of guilty. It is not a full recitation of the defendant’s knowledge of, or
participation in, the offenses.

PENALTIES
6. The parties understand and agree that the offenses to which the
defendant will enter a plea of guilty carry the following maximum terms of
imprisonment and fines:

e Count One: up to 10 years imprisonment, up to $500,000 in fines, a minimum
of 2 years and a maximum of life on supervised release, and a $100 special
assessment.

e Count Two: up to 10 years imprisonment, up to $500,000 in fines, a minimum
of 2 years and a maximum of life on supervised release, and a $100 special
assessment.

e Count Three: up to 20 years imprisonment, up to $1,000,000 in fines, a

minimum of 3 years and a maximum of life on supervised release, and a $100
special assessment.

7. The defendant acknowledges, understands, and agrees that he has
discussed the relevant statutes as well as the applicable sentencing guidelines with
his attorney, including any possibility that the defendant may qualify as a career
offender under the sentencing guidelines.

ELEMENTS
8. The parties understand and agree that in order to sustain the charge

of conspiracy to distribute a controlled substance (anabolic steroids) as charged in

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Count One, the United States must prove the following elements beyond a
reasonable doubt:
1. First, that the conspiracy as charged in Count One existed, and

2. Second, that the defendant knowingly became a member of the conspiracy
with an intention to further the conspiracy.

The parties understand and agree that in order to sustain the charge of
possession with intent to distribute a controlled substance (anabolic steroids) as
charged in Count Two, the United States must prove the following elements beyond
a reasonable doubt:

1. First, the defendant knowingly possessed a controlled substance;

2. Second, the defendant intended to distribute the substance to another person;
and

3. Third, the defendant knew the substance was a controlled substance.

The parties understand and agree that in order to sustain the charge of
maintaining a drug-involved premises as charged in Count Three, the United States
must prove the following elements beyond a reasonable doubt:

1. First, the defendant knowingly leased, rented, used, or maintained a place;
and

2. Second, the defendant did so for the purpose of manufacturing, distributing,

or using a controlled substance. The government is not required to prove that
was the defendant’s sole purpose.

SENTENCING PROVISIONS
9. The parties agree to waive the time limits in Fed. R. Crim. P. 32

relating to the presentence report, including that the presentence report be

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disclosed not less than 35 days before the sentencing hearing, in favor of a schedule
for disclosure, and the filing of any objections, to be established by the court at the
change of plea hearing.

10. The parties acknowledge, understand, and agree that any sentence
imposed by the court will be pursuant to the Sentencing Reform Act, and that the
court will give due regard to the Sentencing Guidelines when sentencing the
defendant.

11. The parties acknowledge and agree that they have discussed the
sentencing guidelines provisions which they believe to be applicable to the offenses
set forth in paragraph 4. The defendant acknowledges and agrees that his attorney
in turn has discussed the applicable sentencing guidelines provisions with him to
the defendant’s satisfaction.

12. The parties acknowledge and understand that prior to sentencing the
United States Probation Office will conduct its own investigation of the defendant’s
criminal history. The parties further acknowledge and understand that, at the time
the defendant enters a guilty plea, the parties may not have full and complete
information regarding the defendant’s criminal history. The parties acknowledge,
understand, and agree that the defendant may not move to withdraw the guilty plea
solely as a result of the sentencing court’s determination of the defendant’s criminal
history.

Sentencing Guidelines Calculations
13. The defendant acknowledges and understands that the sentencing

guidelines recommendations contained in this agreement do not create any right to

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be sentenced within any particular sentence range, and that the court may impose a
reasonable sentence above or below the guideline range. The parties further
understand and agree that if the defendant has provided false, incomplete, or
inaccurate information that affects the calculations, the government is not bound to
make the recommendations contained in this agreement.
Relevant Conduct

14. The parties acknowledge, understand, and agree that pursuant to
Sentencing Guidelines Manual (U.S.S.G.) § 1B1.8, the sentencing judge may
consider relevant conduct in calculating the sentencing guidelines range, even if the
relevant conduct is not the subject of the offenses to which the defendant is pleading
guilty.

Base Offense Level

15. The parties agree to recommend to the sentencing court that the
applicable base offense level for the offenses charged in Counts One, Two, and
Three is 20 under U.S.S.G. §§ 2D1.1(a)(5) and 2D1.1(¢)(10)

Specific Offense Characteristics

16. The parties agree to recommend to the sentencing court that the
following adjustments are applicable to the offenses charges in Counts One, Two,
and Three: a 2-level increase for possession of a weapon under U.S.S.G.
§ 2D1.1(b)(1); a 2-level increase for distribution over a computer under U.S.S.G.
§ 2D1.1(b)(7); a 2-level increase for maintaining a premises for manufacturing a
controlled substance under U.S.S.G. § 2D1.1(b)(12); a 2-level increase for importing

a controlled substance under U.S.S.G. § 2D1.1(b)(15)(C).
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Role in the Offense

17. Pursuant to U.S.S.G. § 3B1.1 the parties acknowledge and understand
that the government will recommend to the sentencing court that a 4-level increase
be given for an aggravating role in the offense, as the defendant was an organizer
and leader of criminal activity that involved 5 or more people and was otherwise
extensive.

Acceptance of Responsibility

18. The government agrees to recommend a two-level decrease for
acceptance of responsibility as authorized by Sentencing Guidelines Manual §
3E1.1(a), but only if the defendant exhibits conduct consistent with the acceptance
of responsibility. In addition, if the court determines at the time of sentencing that
the defendant is entitled to the two-level reduction under § 3E1.1(a), the
government agrees to make a motion recommending an additional one-level
decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the
defendant timely notified authorities of his intention to enter a plea of guilty.

Career Offender or Armed Career Criminal

19. The parties acknowledge, understand, and agree that the defendant
may qualify as a career offender under the sentencing guidelines. The parties
further understand, acknowledge, and agree that the defendant may not move to
withdraw the guilty plea solely as a result of a determination that under the

guidelines, the defendant is determined to be a career offender.

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Sentencing Recommendations

20. Both parties reserve the right to provide the district court and the
probation office with any and all information which might be pertinent to the
sentencing process, including but not limited to any and all conduct related to the
offense as well as any and all matters which might constitute aggravating or
mitigating sentencing factors.

21. Both parties reserve the right to make any recommendation regarding
any and all factors pertinent to the determination of the sentencing guideline range;
the fine to be imposed; the amount of restitution and the terms and condition of its
payment; the length of supervised release and the terms and conditions of the
release; the defendant’s custodial status pending the sentencing; and any other
matters not specifically addressed by this agreement.

22. The government agrees to recommend a sentence within the applicable
sentencing guideline range, as determined by the court.

Court’s Determinations at Sentencing

23. The parties acknowledge, understand, and agree that neither the
sentencing court nor the United States Probation Office is a party to or bound by
this agreement. The United States Probation Office will make its own
recommendations to the sentencing court. The sentencing court will make its own
determinations regarding any and all issues relating to the imposition of sentence
and may impose any sentence authorized by law up to the maximum penalties set
forth in paragraph 6 above. The parties further understand that the sentencing

court will be guided by the sentencing guidelines but will not be bound by the
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sentencing guidelines and may impose a reasonable sentence above or below the
calculated guideline range.

24, The parties acknowledge, understand, and agree that the defendant
may not move to withdraw the guilty plea solely as a result of the sentence imposed
by the court.

FINANCIAL MATTERS

25. The defendant acknowledges and understands that any and all
financial obligations imposed by the sentencing court are due and payable in full
upon entry of the judgment of conviction. The defendant further understands that
any payment schedule imposed by the sentencing court shall be the minimum the
defendant is expected to pay and that the government’s collection of any and all
court imposed financial obligations is not limited to the payment schedule. The
defendant agrees not to request any delay or stay in payment of any and all
financial obligations. If the defendant is incarcerated, the defendant agrees to
participate in the Bureau of Prisons’ Inmate Financial Responsibility Program,
regardless of whether the court specifically directs participation or imposes a
schedule of payments.

26. The defendant agrees to provide to the Financial Litigation Unit
(FLU) of the United States Attorney’s Office, upon request of the FLU during any
period of probation or supervised release imposed by the court, a complete and
sworn financial statement on a form provided by FLU and any documentation

required by the form.

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27.

Special Assessment

The defendant agrees to pay the special assessment in the amount of

$300 prior to or at the time of sentencing.

28.

DEFENDANT'S WAIVER OF RIGHTS

In entering this agreement, the defendant acknowledges and

understands that he surrenders any claims he may have raised in any pretrial

motion, as well as certain rights which include the following:

a.

If the defendant persisted in a plea of not guilty to the charges
against him, he would be entitled to a speedy and public trial by a
court or jury. The defendant has a right to a jury trial. However, in
order that the trial be conducted by the judge sitting without a jury,
the defendant, the government and the judge all must agree that
the trial be conducted by the judge without a jury.

If the trial is a jury trial, the jury would be composed of twelve
citizens selected at random. The defendant and his attorney would
have a say in who the jurors would be by removing prospective
jurors for cause where actual bias or other disqualification is
shown, or without cause by exercising peremptory challenges. The
jury would have to agree unanimously before it could return a
verdict of guilty. The court would instruct the jury that the
defendant is presumed innocent until such time, if ever, as the
government establishes guilt by competent evidence to the
satisfaction of the jury beyond a reasonable doubt.

If the trial is held by the judge without a jury, the judge would find
the facts and determine, after hearing all of the evidence, whether
or not he was persuaded of defendant’s guilt beyond a reasonable
doubt.

At such trial, whether by a judge or a jury, the government would
be required to present witnesses and other evidence against the
defendant. The defendant would be able to confront witnesses upon
whose testimony the government is relying to obtain a conviction
and he would have the right to cross-examine those witnesses. In
turn the defendant could, but is not obligated to, present witnesses
and other evidence on his own behalf. The defendant would be

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entitled to compulsory process to call witnesses.

e. At such trial, defendant would have a privilege against self-
incrimination so that he could decline to testify and no inference of
guilt could be drawn from his refusal to testify. If defendant desired
to do so, he could testify on his own behalf.

29. The defendant acknowledges and understands that by pleading guilty
he is waiving all the rights set forth above. The defendant further acknowledges the
fact that his attorney has explained these rights to him and the consequences of his
waiver of these rights. The defendant further acknowledges that as a part of the
guilty plea hearing, the court may question the defendant under oath, on the record,
and in the presence of counsel about the offense to which the defendant intends to
plead guilty. The defendant further understands that the defendant’s answers may
later be used against the defendant in a prosecution for perjury or false statement.

30. The defendant acknowledges and understands that he will be
adjudicated guilty of the offenses to which he will plead guilty and thereby may be
deprived of certain rights, including but not limited to the right to vote, to hold
public office, to serve on a jury, to possess firearms, and to be employed by a
federally insured financial institution.

31. The defendant knowingly and voluntarily waives all claims he may
have based upon the statute of limitations, the Speedy Trial Act, and the speedy
trial provisions of the Sixth Amendment. The defendant agrees that any delay

between the filing of this agreement and the entry of the defendant’s guilty plea

pursuant to this agreement constitutes excludable time under the Speedy Trial Act.

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GENERAL MATTERS

32. The parties acknowledge, understand, and agree that this agreement
does not require the government to take, or not to take, any particular position in
any post-conviction motion or appeal.

33. The parties acknowledge, understand, and agree that this plea
agreement will be filed and become part of the public record in this case.

34, The parties acknowledge, understand, and agree that the United
States Attorney’s office is free to notify any local, state, or federal agency of the
defendant’s conviction.

35. The defendant understands that pursuant to the Victim and Witness
Protection Act, the Justice for All Act, and regulations promulgated thereto by the
Attorney General of the United States, the victim of a crime may make a statement
describing the impact of the offense on the victim and further may make a
recommendation regarding the sentence to be imposed. The defendant
acknowledges and understands that comments and recommendations by a victim
may be different from those of the parties to this agreement.

EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

36. The defendant acknowledges and understands if he violates any term
of this agreement at any time, engages in any further criminal activity prior to
sentencing, or fails to appear for sentencing, this agreement shall become null and
void at the discretion of the government. The defendant further acknowledges and
understands that the government’s agreement to dismiss any charge is conditional

upon final resolution of this matter. If this plea agreement is revoked or if the

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defendant’s conviction ultimately is overturned, then the government retains the
right to reinstate any and all dismissed charges and to file any and all charges
which were not filed because of this agreement. The defendant hereby knowingly
and voluntarily waives any defense based on the applicable statute of limitations for
any charges filed against the defendant as a result of his breach of this agreement.
The defendant understands, however, that the government may elect to proceed
with the guilty plea and sentencing. If the defendant and his attorney have signed a
proffer letter in connection with this case, then the defendant further acknowledges

and understands that he continues to be subject to the terms of the proffer letter.

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VOLUNTARINESS OF DEFENDANT'S PLEA
37. The defendant acknowledges, understands, and agrees that he will
plead guilty freely and voluntarily because he is in fact guilty. The defendant
further acknowledges and agrees that no threats, promises, representations, or
other inducements have been made, nor agreements reached, other than those set

forth in this agreement, to induce the defendant to plead guilty.

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ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I
am not now on or under the influence of any drug, medication, alcohol, or other
intoxicant or depressant, whether or not prescribed by a physician, which would

- impair my ability to understand the terms and conditions of this agreement. My
attorney has reviewed every part of this agreement with me and has advised me of
the implications of the sentencing guidelines. I have discussed all aspects of this
case with my attorney and I am satisfied that my attorney has provided effective

assistance of counsel.
Date: | 4 / (sw aelebr, <¥
7 / ( RUSSELL SPALDING /*

Defendant
I am the defendant’s attorney. I carefully have reviewed every part of this
agreement with the defendant. To my knowledge, my client’s decision to enter into

this agreement is an informed and voluntary one.

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Date: ~ , |

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x fo

 

 

JOHN CAMPION ~
- Attorney f for x Defer ndant

For the United States of America:

Dom. Woutewh,;

T THEW D. KRUEGER

Date: & HPELLG

 

United States ae
Date: S/F -UF AMIN At eL. omens
AMIN W. PROCTOR

BENIAM United States Attorney

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